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 1   SHAUN KHOJAYAN (#197690)
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      & ASSOCIATES, P.L.C.
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 4   Los Angeles, CA 90071
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 6   Email: shaun@khojayan.com
     Attorney for Defendant Haitham Habash #4
 7

 8                     IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
      UNITED STATES OF AMERICA,                  Case No: 1:15-CR-00286-DAD-BAM
11
                      Plaintiff,
12                                               STIPULATION AND ORDER TO
            v.                                   MODIFY CONDITIONS OF
13                                               RELEASE FOR DEFENDANT
      HAITHAM HABASH,                            HAITHAM HABASH
14

15                    Defendant.

16

17
           Notice is hereby given that, subject to approval by the court, Haitham Habash
18

19   hereby stipulates, by and through his counsel Shaun Khojayan, and Assistant United

20   States Attorney, Karen Escobar that conditions of release be modified to allow
21
     Defendant Haitham Habash to travel to San Francisco from December 29, 2018 to
22

23   January 2, 2019, to be with his in-laws and family. All other conditions previously

24   imposed, not in conflict, remain in full force and effect.
25
           Pretrial services reports that he is in compliance with all of his imposed
26
27   conditions. Defendant Habash will inform his assigned pretrial officer Kristianna
28   Janich of his form of transportation (vehicle's make, model and plates) and he will

                                                 1
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 1   provide a copy of his hotel reservation or relatives contact information. He will also
 2
     contact officer Janich upon his arrival to the Central District.
 3

 4

 5   I consent to the above stipulation.
 6
     Date: 12/17/18                                  s/ Haitham Habash
 7                                                   Haitham Habash
 8
     I consent to the above stipulation.
 9

10   Date: 12/17/18                                  s/ Karen Escobar (with permission)_
                                                     AUSA Karen Escobar
11

12   I consent to the above stipulation.
13   Date: 12/17/18                                  s/ Shaun Khojayan
14                                                   Shaun Khojayan, Attorney for Habash
15

16
                                            ORDER
17

18            The Stipulation to Modify conditions of release for defendant Haitham
19
     Habash is hereby approved and so ORDERED.
20
21
     IT IS SO ORDERED.
22

23
     Dated:     December 18, 2018
                                                 UNITED STATES MAGISTRATE JUDGE
24

25

26
27

28

                                                 2
